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EXHIBIT 72
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PRODUCTS LIABILITY IN NAMED PLAINTIFF’S STATES:

DESIGN DEFECT, FAILURE TO WARN, AND NEGLIGENCE

 

JURISDICTION

AUTHORITY

 

Alabama

(Design Defect)

(Failure to Warn)

(Negligence)

Atkins v. American Motors Corp., 335 So.2d 134, 139 (Ala.1976)

The Alabama Extended Manufacturer's Liability Doctrine (AEMLD)
provides for such liability if “the defendant manufactured or designed or
sold a defective product which, because of its unreasonably unsafe
condition, injured the plaintiff or damaged his property when such
product, substantially unaltered, was put to its intended use.” The
AEMLD is similar to a strict liability tort action under § 402A of the
Restatement (Second) of Torts.

King v. S.R. Smith, Inc., 578 So. 2d 1285, 1287 (Ala. 1991)

Under the AEMLD, if a manufacturer or seller places goods on the
market that are imminently dangerous when put to their intended purpose
and the defendant knows or should know that the goods can create danger
when used in their customary manner, the defendant must exercise
reasonable diligence to make such danger known to the persons likely to
be injured by the product

Ford Motor Co. v. Burdeshaw, 661 So. 2d 236, 238 (Ala. 1995).

To recover under a negligence claim, the plaintiff must establish (1) that
the defendant owed a duty to the plaintiff; (2) that the defendant breached
that duty; (3) that the plaintiff suffered a loss or an injury; and (4) that the
defendant's negligence was the actual and proximate cause of that loss or
injury. Lollar v. Poe, 622 So. 2d 902 (Ala. 1993).

 

 

Arizona

(Design Defect)

 

Jimenez v. Sears, Roebuck & Co., 183 Ariz. 399, 402, 904 P.2d 861,
864 (1995)

A prima facie case of strict products liability is established by showing
that when the product left the defendant's control, it was in a defective
condition that made it unreasonably dangerous and the defect was a
proximate cause of plaintiff's injuries. Gosewisch, 153 Ariz. at 403, 737
P.2d at 379; see also O.S. Stapley Co. v. Miller, 103 Ariz. 556, 559-60,
447 P.2d 248, 251-52 (1968) (adopting strict liability rule of Restatement
(Second) of Torts § 402A (1965), hereinafter Restatement).

 

 
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Arizona (cont’d)

(Failure to Warn)

(Negligence)

Watts v. Medicis Pharm. Corp., 239 Ariz. 19, 365 P.3d 944, 948
(2016)

Generally, a claim of strict products liability may be based on
“informational defects encompassing instructions and warnings” that
render a product defective and unreasonably dangerous. Gosewisch v.
Am. Honda Motor Co., 153 Ariz. 400, 403, 737 P.2d 376, 379 (1987). To
establish such a claim, the plaintiff must prove, among other things, that
the manufacturer had a duty to warn of the product's dangerous
propensities and that the lack of an adequate warning made the product
defective and unreasonably dangerous. Jd.

Gipson vy. Kasey, 150 P.3d 228, 230 (Ariz. 2007).

To establish a claim for negligence, a plaintiff must prove four elements:
(1) a duty requiring the defendant to conform to a certain standard of
care; (2) a breach by the defendant of that standard; (3) a causal
connection between the defendant's conduct and the resulting injury; and
(4) actual damages. Ontiveros v. Borak, 136 Ariz. 500, 504, 667 P.2d
200, 204 (1983) (citing William L. Prosser, Handbook of the Law of
Torts § 30, at 143 (4th ed. 1971)).

 

 

California

(Design Defect)

(Failure to Warn)

 

Barker v. Lull Eng'g Co., 20 Cal.3d 413, 428-430 (Cal.1978).

The general rule is that “[a] manufacturer is strictly liable for injuries
caused by a product that is (1) defectively manufactured, (2) defectively
designed, or (3) distributed without adequate instructions or warnings of
its potential for harm.” “A defectively designed product either ‘fails to
satisfy such ordinary consumer expectations as to safety in its intended or
reasonably foreseeable operation,’ or has an inherent risk of danger that
outweighs its benefits.”

Johnson v. Am. Standard, Inc., 43 Cal. 4th 56, 64-65, 179 P.3d 905,
910 (2008)

Generally speaking, manufacturers have a duty to warn consumers about
the hazards inherent in their products. (Anderson, supra, 53 Cal.3d at p.
1003, 281 Cal.Rptr. 528, 810 P.2d 549.) The requirement's purpose is to
inform consumers about a product's hazards and faults of which they are
unaware, so that they can refrain from using the product altogether or
evade the danger by careful use. (Jbid.) Typically, under California law,
we hold manufacturers strictly liable for injuries caused by their failure to
warn of dangers that were known to the scientific community at the time
they manufactured and distributed their product.

 

 
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California (cont’d)

(Negligence)

Beacon Residential Community Assn. v. Skidmore, Owings & Merrill
LLP, 173 Cal. Rptr. 3d 752, 755 (Cal. 2014).

“Actionable negligence involves a legal duty to use due care, a breach of
such legal duty, and the breach as the proximate or legal cause of the
resulting injury.” (United States Liab. Ins. Co. v. Haidinger-Hayes, Inc.
(1970) 1 Cal.3d 586, 594 [83 Cal. Rptr. 418, 463 P.2d 770].)

 

 

Georgia

(Design Defect)

(Failure to Warn)

(Negligence)

 

Georgia's strict liability provision, OCGA § 51-1-11(b)(1):

The manufacturer of any personal property sold as new property directly
or through a dealer or any other person shall be liable in tort, irrespective
of privity, to any natural person, who may use, consume, or reasonably
be affected by the property and who suffers injury to his person or
property because the property when sold by the manufacturer was not
merchantable and reasonably suited to the use intended, and its condition
when sold is the proximate cause of the injury sustained.

Dean v. Toyota Indus. Equip. Mfg., Inc., 246 Ga.App. 255, 259, 540
S.E.2d 233, 237 (2000).

Under Georgia law, a product design is defective if “the risks inherent in
a product design [outweigh] the utility or benefit derived from the
product.”

Dietz v. Smithkline Beecham Corp., 598 F.3d 812, 815 (11th Cir.2010)
(applying Georgia law).

To establish failure to warn claims, a plaintiff must show that (1)
defendant had a duty to warn, (2) defendant breached that duty, and (3)
the breach was the proximate cause of Plaintiffs’ injuries.

Johnson y. Am. Nat'l Red Cross, 578 S.E.2d 106, 108 (Ga. 2003).

"It is well established that to recover for injuries caused by another's
negligence, a plaintiff must show four elements: 'a duty, a breach of that
duty, causation and damages.' [Cit.]" Royal v. Ferrellgas, 254 Ga. App.
696, 698 (563 S.E.2d 451) (2002).

 

 
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Illinois

(Design Defect)

(Failure to Warn)

(Negligence)

 

Calles v. Scripto-Tokai Corp., 224 Ill. 2d 247, 254-56, 864 N.E.2d 249,
254-56 (2007)

In Suvada v. White Motor Co., 32 I11.2d 612, 622-23, 210 N.E.2d 182
(1965), this court adopted the strict liability doctrine set forth in section
402A of the Second Restatement of Torts. Under this doctrine, strict
liability is imposed upon a seller of “any product in a defective condition
unreasonably dangerous to the user or consumer or to his property.”
Restatement (Second) of Torts § 402A, at 347-48 (1965). The test
outlined in section 402A for determining whether a product is
“unreasonably dangerous” is known as the consumer-expectation or
consumer-contemplation test. This test provides that a product is
“unreasonably dangerous” when it is “dangerous to an extent beyond that
which would be contemplated by the ordinary consumer who purchases
it, with the ordinary knowledge common to the community as to its
characteristics.” Restatement (Second) of Torts § 402A, Comment i, at
352 (1965).

He oe

[T]his court in Lamkin v. Towner, 138 Tll.2d 510, 528, 150 Ill.Dec.
562, 563 N.E.2d 449 (1990), adopted a second, alternative test for design
defect cases known as the risk-utility, or risk-benefit, test. See Blue v.
Environmental Engineering, Inc., 215 Tl.2d 78, 91, 293 Ill.Dec. 630, 828
N.E.2d 1128 (2005) (noting this court “understood the problem|[s
associated with application of the consumer-expectation test to design-
defect cases] and recognized a second, alternative test”).

Sollami v. Eaton, 201 Il. 2d 1, 7, 772 N.E.2d 215, 219 (2002)

A manufacturer has a duty to warn where the product possesses
dangerous propensities and there is unequal knowledge with respect to
the risk of harm, and the manufacturer, possessed of such knowledge,
knows or should know that harm may occur absent a warning.

Krywin y. Chi. Transit Auth., 938 N.E.2d 440, 446 (IIL. 2010).

To recover damages based upon negligence, a plaintiff must prove that
the defendant owed a duty to the plaintiff, that the defendant breached

that duty, and that the breach was the proximate cause of the plaintiff's
injury. First Springfield Bank & Trust v. Galman, 188 Ill. 2d 252, 256,
720 N.E.2d 1068, 242 Ill. Dec. 113 (1999).

 

 
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Maine

(Design Defect)

(Failure to Warn)

(Negligence)

 

Burns v. Architectural Doors & Windows, 2011 ME 61, 19 A.3d 823,
830 n 7.

To allege a product liability claim in Maine, a plaintiff must state facts
that satisfy the elements of the claim set forth by statute:

One who sells any goods or products in a defective condition
unreasonably dangerous to the user or consumer or to his property is
subject to liability for physical harm thereby caused to a person whom
the manufacturer, seller or supplier might reasonably have expected to
use, consume or be affected by the goods, or to his property, if the seller
is engaged in the business of selling such a product and it is expected to
and does reach the user or consumer without significant change in the
condition in which it is sold. This section applies although the seller has
exercised all possible care in the preparation and sale of his product and
the user or consumer has not bought the product from or entered into any
contractual relation with the seller.

14 MRS. § 221 (2010).

Based on this statutory language, the elements of a defective product
cause of action asserted against a seller are:

(1) the named defendant sold the goods or products;

(2) those goods or products were in a defective condition unreasonably
dangerous to the user or consumer or the user or consumer's property;
(3) the plaintiff might reasonably have been expected to use, consume, or
be affected by the goods or products;

(4) the defendant was engaged in the business of selling the goods or
products;

(5) the goods or products were expected to, and did, reach the user or
consumer without significant change in the condition in which they were
sold; and

(6) the plaintiff or the plaintiff's property suffered physical harm.

See id.

Bouchard v. Am. Orthodontics, 661 A.2d 1143, 1145 (Me.1995)

To establish a claim that a product was defective due to a failure to warn,
a party must prove three elements in addition to those explicitly stated in
the defective product statute: (1) the defendant had a duty to warn the
plaintiff of the product hazard; (2) any actual warning on the product was
inadequate; and (3) the inadequate warning or absence of a warning
proximately caused the plaintiff's injury.

Dyer v. Me. Drilling & Blasting, Inc., 984 A.2d 210, 222 (Me. 2009).

We have held that a prima facie case of negligence to avoid summary
judgment requires that a plaintiff must establish four elements: (1) a duty

 

 
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Maine (cont’d)

or standard of care; (2) breach of that duty or standard of care; (3) an
injury to the plaintiff caused by that breach of duty or standard of care;
and (4) damages. Mastriano v. Blyer, 2001 ME 134, P 11, 779 A.2d 951,
954.

 

 

New Hampshire

(Design Defect)

(Failure to Warn)

 

Kelleher v. Marvin Lumber & Cedar Co., 152 N.H. 813, 824, 891 A.2d
477 (2005).

We have adopted the doctrine of strict liability of manufacturers for
product defects in section 402A (1) of the Restatement (Second) of Torts,
which states: “One who sells any product in a defective condition
unreasonably dangerous to the user or consumer or fo his property is
subject to liability for physical harm thereby caused to the ultimate user
or consumer....” Restatement (Second) of Torts § 402A (1) (1965)
(emphasis added); see Price, 142 N.H. at 388, 702 A.2d 330; Royer v.
Catholic Med. Ctr., 144.N.H. 330, 331, 741 A.2d 74 (1999). “A design
defect occurs when the product is manufactured in conformity with the
intended design but the design itself poses unreasonable dangers to
consumers.” Price, 142 N.H. at 389, 702 A.2d 330 (quotation omitted).
181920 For a product to be unreasonably dangerous, it “must be
dangerous to an extent beyond that which would be contemplated by the
ordinary consumer who purchases it, with the ordinary knowledge
common to the community as to its characteristics.” Vautour v. Body
Masters Sports Indus., 147 N.H. 150, 154, 784 A.2d 1178 (2001)
(quotation omitted). The jury determines whether a product is
unreasonably dangerous by using a risk-utility balancing test. Price, 142
N.H. at 389, 702 A.2d 330. Under this approach, “a product is defective
as designed if the magnitude of the danger outweighs the utility of the
product.” Vautour, 147 N.H. at 154, 784 A.2d 1178 (quotations omitted);
see Price, 142 N.H. at 389, 702 A.2d 330 (detailing the factors to be
considered when implementing the risk-utility balancing test). However,
the plaintiff is not required to present evidence of a safer alternative
design. Vautour, 147 N.H. at 156, 784 A.2d 1178. “[P]roof of an
alternative design is neither a controlling factor nor an essential element
that must be proved in every case.” Jd. Rather, the circumstances of each
case dictate which factors may be relevant. Jd.

LeBlanc v. Am. Honda Motor Co., 141 N.H. 579, 585-86, 688 A.2d
556, 561-62 (1997)

To maintain a products liability claim based on defective design, a
plaintiff must prove: (1) that the design of the product created a defective
condition unreasonably dangerous to the user; (2) that the condition
existed when the product was sold by a seller in the business of selling

 

 
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New Hampshire
(cont'd)

such products; (3) that the use of the product was reasonably foreseeable
by the manufacturer; and (4) that the condition caused injury to the user
or the user's property. Chellman v. Saab-Scania AB, 138 N.H. 73, 77, 637
A.2d 148, 150 (1993). An analysis of whether a product is unreasonably
dangerous requires evaluating many possible factors including a
product's social utility balanced against the risk of danger, the cost and
practicality of reducing the risk of danger, and the presence or absence
and efficacy of a warning of hidden danger... If the design of a product
makes a warning necessary to avoid an unreasonable risk of harm from a
foreseeable use, the lack of warning or an ineffective warning causes the
product to be defective and unreasonably dangerous. Id. at 77-78, 637
A.2d at 150; see Thibault v. Sears, Roebuck & Co., 118 N.H. 802, 395
A.2d 843 (1978).

The plaintiff's design defect and failure to warn claims are separate.
Under the design defect claim, the issue is whether the [product] was
defective ... and whether that defect made the product unreasonably
dangerous. The issue in the failure to warn claim, in contrast, is whether
the danger inherent in the [product] was or could have been made
reasonable by the issuance of adequate warnings.

Weldy v. Kingston, 514 A.2d 1257, 1260 (N.H. 1986).

 

 

(Negligence)
The elements of negligence are a breach of a duty of care by the
defendant, which proximately causes the plaintiff's injury. See White v.
Schnoebelen, 91 N.H. 273, 274-75, 18 A.2d 185, 186-87 (1941).
North Dakota Stillwell vy. Cincinnati Inc., 336 N.W.2d 618, 621-22 (N.D. 1983)
(Design Defect) In Johnson v. American Motors Corporation, 225 N.W.2d 57

 

(N.D.1974), this Court expressly adopted the rule of strict liability in tort
as set forth in § 402A, Restatement of Torts 2d, which provides as
follows:

“Special Liability of Seller of Product for Physical Harm to User or
Consumer

(1) One who sells any product in a defective condition unreasonably
dangerous to the user or consumer or to his property is subject to liability
for physical harm thereby caused to the ultimate user or consumer, or to
his property, if

(a) the seller is engaged in the business of selling such a product, and

(b) it is expected to and does reach the user or consumer without
substantial change in the condition in which it is sold.

(2) The rule stated in Subsection (1) applies although

(a) the seller has exercised all possible care in the preparation and sale of
his product, and

(b) the user or consumer has not bought the product from or entered into
any contractual relation with the seller.”

 

 
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North Dakota
(cont’d)

(Failure to Warn)

(Negligence)

 

Endresen v. Scheels Hardware & Sports Shop, Inc., 1997 ND 38, { 8,
560 N.W.2d 225, 229

In order to recover for injuries sustained as a result of a defective
condition in a product, unreasonably dangerous to a consumer, the
plaintiff must show by a preponderance of the evidence the product was
defective in design or manufacture; the defect rendered the product
unreasonably dangerous to the consumer; the defect existed when the
product left the manufacturer; and the defect was a proximate cause of
the plaintiff's injuries.

N.D.C.C. § 28-01.3-06

“No product may be considered to have a defect or to be in a defective
condition, unless at the time the product was sold by the manufacturer or
other initial seller, there was a defect or defective condition in the
product which made the product unreasonably dangerous to the user or
consumer.”

Messer v. B & B Hot Oil Serv., 2015 ND 202, ¢ 10, 868 N.W.2d 373,
377

One who has been injured by a product may seek to hold the
manufacturer or seller liable on the theory that the design of the product
made it dangerous and, apart from whether it was negligent so to design
it, negligence inhered in a failure to warn of the danger. To succeed in a
negligence claim, the plaintiff must prove that the defendant owed a duty
to the plaintiff, the defendant breached that duty, and the plaintiff has
suffered an injury that was proximately caused by the defendant's
negligence.

Barbie v. Minko Constr., Inc., 766 N.W.2d 458, 461 (N.D. 2009).

In a negligence action, the plaintiff must prove (1) duty; (2) breach of
that duty; (3) causation and (4) damages. Miller v. Diamond Resources,
Inc., 2005 ND 150, P 10, 703 N.W.2d 316; Investors Real Estate Trust,
2004 ND 167, P 7, 686 N.W.2d 140.

 

 
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Pennsylvania

(Design Defect)

 

Tincher v. Omega Flex, Inc., — Pa. —, 104 A.3d 328, 399-402
(2014)

“Pennsylvania remains a Second Restatement jurisdiction . . .[W]e hold
that, in Pennsylvania, the cause of action in strict products liability
requires proof, in the alternative, either of the ordinary consumer’s
expectations or of the risk-utility of a product.” (citing California Barker
decision)

Barton v. Lowe's Home Centers, Inc., 2015 PA Super 203, 124 A.3d
349, 354-55 (2015)

In Webb v. Zern, 422 Pa. 424, 220 A.2d 853 (1966), our Supreme Court
formally adopted Section 402A of the Restatement (Second) of Torts as
the law governing strict products liability actions. This section provides:
(1) One who sells any product in a defective condition unreasonably
dangerous to the user or consumer or to his property is subject to liability
for physical harm thereby caused to the ultimate user or consumer, or to
his property, if

(a) the seller is engaged in the business of selling such a product, and
(b) it is expected to and does reach the user or consumer without
substantial change in the condition in which it is sold.

(2) The rule stated in Subsection (1) applies although

(a) the seller has exercised all possible care in the preparation and sale of
his product, and

(b) the user or consumer has not bought the product from or entered into
any contractual relation with the seller.

Restatement (Second) of Torts, § 402A (1965). To prevail in an action
under section 402A, the plaintiff must prove that the product was
defective, the defect existed when it left the defendant's hands, and the
defect caused the harm. *355 Riley v. Warren Manufacturing, Inc., 455
Pa.Super. 384, 688 A.2d 221, 224 (1997). The threshold inquiry in all
products liability cases is whether there is a defect. Jd. This threshold
can be crossed ... either by proving a breakdown in the machine or a
component thereof, traditionally known as a manufacturing defect; or in
cases where there is no breakdown, by proving that the design of the
machine results in an unreasonably dangerous product, traditionally
known as a design defect.

Id.

 

 
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Pennsylvania
(cont’d)

(Failure to Warn)

(Negligence)

Barton v. Lowe's Home Centers, Inc., 2015 PA Super 203, 124 A.3d
349, 354-55 (2015)

A third doctrine recognized under section 402A is the “failure-to-warn”
theory, under which the plaintiff may recover for the defendant's failure
to provide adequate instructions to the user on how to use the product as
the product was designed. Weiner v. American Honda Motor Co., Inc.,
718 A.2d 305, 309 (Pa.Super.1998). “To succeed on a claim of
inadequate or lack of warning, a plaintiff must prove that the lack of
warning rendered the product unreasonably dangerous and that it was the
proximate cause of the injury.” Jd.

Pyeritz v. Commonwealth, 32 A.3d 687, 692 (Pa. 2011).

A cause of action in negligence requires a showing of four elements: (1)
the defendant had a duty to conform to a certain standard of conduct; (2)
the defendant breached that duty; (3) such breach caused the injury in
question; and (4) the plaintiff incurred actual loss or damage. Krentz v.
Consolidated Rail Corp., 589 Pa. 576, 910 A.2d 20, 27 (Pa. 2006).

 

 

Tennessee

(Design Defect)

 

Brown v. Crown Equip. Corp., 181 S.W.3d 268, 282 (Tenn. 2005)

Under the Tennessee Products Liability Act of 1978, “{a] manufacturer
or seller of a product shall not be liable for any injury to a person or
property caused by the product unless the product is determined to be in a
defective condition or unreasonably dangerous at the time it left the
control of the manufacturer or seller.” Tenn.Code Ann. § 29—28—105(a)
(1980). Thus, the Act provides for recovery for injuries caused by a
product that either is in a “defective” condition or is “unreasonably
dangerous.” Davis v. Komatsu Am. Indus. Corp., 42 8.W.3d 34, 42 n. 7
(Tenn.2001); Ray ex rel. Holman y. BIC Corp., 925 §.W.2d 527, 529 n. 3
(Tenn. 1996). A product is in a “defective condition” if it is “unsafe for
normal or anticipatable handling and consumption.” Tenn.Code Ann. §
29-28—102(2) (1980). The term “unreasonably dangerous” means that

a product is dangerous to an extent beyond that which would be
contemplated by the ordinary consumer who purchases it, with the
ordinary knowledge common to the community as to its characteristics,
or that the product because of its dangerous condition would not be put
on the market by a reasonably prudent manufacturer or seller, assuming
that the manufacturer or seller knew of its dangerous condition.

In determining whether a product is unreasonably dangerous, we have
interpreted the Tennessee Products Liability Act of 1978 as providing for
two tests: the consumer expectation test and the prudent manufacturer

 

 
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Tennessee (cont’d)

(Failure to Warn)

test. Ray ex rel. Holman, 925 8.W.2d at 531. These two tests are not
exclusive of one another, and either or both are applicable to claims of
unreasonably dangerous products. Jackson v. Gen. Motors Corp., 60
S.W.3d 800, 806 (Tenn.2001).

Nye v. Bayer Cropscience, Inc., 347 S.W.3d 686, 693 (Tenn. 2011)
(internal quotations omitted)

Tennessee courts have long held that a manufacturer may be held strictly
liable for failing to warn consumers of the dangers of a particular product
at the time of sale.

Parker v. Holiday Hospitality Franchising, Inc., 446 8.W.3d 341, 350
n.7 (Tenn. 2014).

The elements of a negligence claim are: "(1) a duty of care owed by the
defendant to the plaintiff; (2) conduct by the defendant falling below the
standard of care amounting to a breach of that duty; (3) an injury or loss;
(4) causation in fact; and (5) proximate or legal cause." Satterfield v.
Breeding Insulation Co., 266 8.W.3d 347, 355 (Tenn. 2008).

 

 

Vermont

(Design Defect)

(Failure to Warn)

 

Paquette v. Deere & Co., 168 Vt. 258, 260, 719 A.2d 410, 412 (1998)

This Court has adopted the doctrine of strict products liability as
embodied in Restatement (Second) of Torts § 402A. See Zaleskie v.
Joyce, 133 Vt. 150, 155, 333 A.2d 110, 114 (1975). “Under that doctrine,
a manufacturer is strictly liable for physical harm or property damages
resulting from a defective product that reaches a user without undergoing
substantial change.” Webb v. Navistar Int'l Transp. Corp., 166 Vt. 119,
126, 692 A.2d 343, 346 (1996); see Restatement (Second) of Torts §
402A(1) (1965) (one who sells any product in defective condition
unreasonably dangerous to user or user's property is “subject to liability
for physical harm thereby caused to the ultimate user ... or to his
property”) (emphasis added)

Town of Bridport v. Sterling Clark Lurton Corp., 166 Vt. 304, 307-
08, 693 A.2d 701, 704 (1997)

In “failure to warn” cases, the plaintiff must show that the manufacturer
had a duty to warn, that the failure to warn made the product
unreasonably dangerous and therefore defective, and that the lack of a
warning was a proximate cause of the injury. Menard, 135 Vt. at 54, 373
A.2d at 506; see also McCullock v. H.B. Fuller Co., 61 F.3d 1038, 1044-
45 (2d Cir.1995) (outlining plaintiff's burden in failure to warn case
under Vermont law).

 

 
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Vermont (cont’d)

(Negligence)

 

Denis Bail Bonds, Inc. v. State, 622 A.2d 495, 498 (Vt. 1993).

As plaintiff's suit alleges negligence, the requisite elements of the cause
of action are familiar: the existence of a legally cognizable duty owed by
the defendant to the plaintiff, breach of that duty, such breach as the
proximate cause of plaintiff's injury, and actual damages. Langle v.
Kurkul, 146 Vt. 513, 517, 510 A.2d 1301, 1304 (1986) (citing W. Prosser
& W. Keeton, The Law of Torts § 30, at 164-65 (Sth ed. 1984)).

 

 
